                 Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 1 of 17


JIMI KOLAWOLE

From:                              Chyann Thompson <ktmbusiness12@gmail.com>
Sent:                              Sunday, January 30, 2022 2:20 PM
To:                                JIMI KOLAWOLE
Subject:                           Fwd: Your Facebook Ads Receipt (Account ID: 460246638615039)




Thank You


Begin forwarded message:

       From: Facebook Ads Team <advertise-noreply@support.facebook.com>
       Date: October 17, 2021 at 9:10:26 AM EDT
       To: Tiara Newman Johnson <ktmbusiness12@gmail.com>
       Subject: Your Facebook Ads Receipt (Account ID: 460246638615039)
       Reply-To: noreply <noreply@facebookmail.com>




                  Receipt for KTMBUSINESS (Account ID: 460246638615039)


            Summary
            AMOUNT BILLED                                           DATE RANGE
                                                                    Oct 16, 2021, 10:30 AM - Oct 16, 2021, 8:19 PM
            $7.19 USD                                               PRODUCT TYPE
                                                                    Facebook Ads
            BILLING REASON                                          PAYMENT METHOD
            A manual payment was made on this account.              Visa · 9221
                                                                    REFERENCE NUMBER
                                                                    FNJKB832T2



            CAMPAIGN                                                                                   RESULTS AMOUNT


             Instagram Post: Different candle varieties:) link...                                            154     $1.49
                                                                                                      Impressions

              Kakeytaughtme the Book - Page Post Engagement                                                3,241     $4.79
                                                                                                      Impressions

              [10/16/2021] Promoting Kakeytaughtme the Book                                                   25     $0.91
                                                                                                      Impressions


            CAMPAIGN TOTAL                                                                                           $7.19
                                                              1
                    Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 2 of 17



TOTAL                                                                                                                         $7.19



Transaction ID: 4383698548413169-8495577



Thanks,
                                                            Manage Your Ads                          See Full Receipt
The Facebook Ads Team

This is an automated message. Please do not reply. If you have questions about ads, you can get help. You can also manage your email
notification settings for this ad account.
Facebook, Inc., Attention: Community Support, 1 Facebook Way, Menlo Park, CA 94025

  The link ed
  image can not
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  hav e been
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  Verify that
  the link
  points to the
  correct file
  and location.




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                Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 3 of 17


JIMI KOLAWOLE

From:                             Tiara Newman Johnson <tnewmanj22@gmail.com>
Sent:                             Sunday, January 30, 2022 2:20 PM
To:                               JIMI KOLAWOLE
Subject:                          Fwd: Your Facebook Ads Receipt (Account ID: 460246638615039)




Sent from my iPhone

Begin forwarded message:

       From: Facebook Ads Team <advertise-noreply@support.facebook.com>
       Date: October 17, 2021 at 1:04:45 PM EDT
       To: Tiara Newman Johnson <tnewmanj22@gmail.com>
       Subject: Your Facebook Ads Receipt (Account ID: 460246638615039)
       Reply-To: noreply <noreply@facebookmail.com>




                 Receipt for KTMBUSINESS (Account ID: 460246638615039)


           Summary
           AMOUNT BILLED                                           DATE RANGE
                                                                   Oct 16, 2021, 12:00 AM - Oct 17, 2021, 10:04 AM
           $10.00 USD                                              PRODUCT TYPE
                                                                   Facebook Ads
           BILLING REASON                                          PAYMENT METHOD
           You're being billed because you reached your            Visa · 9221
           $10.00 payment threshold.
                                                                   REFERENCE NUMBER
                                                                   J8NRQ7XYS2



           CAMPAIGN                                                                                   RESULTS AMOUNT


            Instagram Post: Different candle varieties:) link...                                            143     $1.51
                                                                                                     Impressions

             Kakeytaughtme the Book - Page Post Engagement                                                2,198     $3.48
                                                                                                     Impressions

             [10/16/2021] Promoting Kakeytaughtme the Book                                                   52     $5.01
                                                                                                     Impressions


           CAMPAIGN TOTAL                                                                                          $10.00

                                                             1
                    Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 4 of 17



TOTAL                                                                                                                       $10.00



Transaction ID: 4317956271654055-8496390



Thanks,
                                                            Manage Your Ads                          See Full Receipt
The Facebook Ads Team

This is an automated message. Please do not reply. If you have questions about ads, you can get help. You can also manage your email
notification settings for this ad account.
Facebook, Inc., Attention: Community Support, 1 Facebook Way, Menlo Park, CA 94025

  The link ed
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                Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 5 of 17


JIMI KOLAWOLE

From:                             Chyann Thompson <ktmbusiness12@gmail.com>
Sent:                             Sunday, January 30, 2022 2:19 PM
To:                               JIMI KOLAWOLE
Subject:                          Fwd: Your Facebook Ads Receipt (Account ID: 460246638615039)




Begin forwarded message:

       From: Facebook Ads Team <advertise-noreply@support.facebook.com>
       Date: October 18, 2021 at 11:32:30 AM EDT
       To: Tiara Newman Johnson <ktmbusiness12@gmail.com>
       Subject: Your Facebook Ads Receipt (Account ID: 460246638615039)
       Reply-To: noreply <noreply@facebookmail.com>




                 Receipt for KTMBUSINESS (Account ID: 460246638615039)


           Summary
           AMOUNT BILLED                                           DATE RANGE
                                                                   Oct 17, 2021, 12:00 AM - Oct 18, 2021, 8:32 AM
           $15.00 USD                                              PRODUCT TYPE
                                                                   Facebook Ads
           BILLING REASON                                          PAYMENT METHOD
           You're being billed because you reached your            Visa · 9221
           $15.00 payment threshold.
                                                                   REFERENCE NUMBER
                                                                   V2L3G8KZS2



           CAMPAIGN                                                                                   RESULTS AMOUNT


             [10/16/2021] Promoting Kakeytaughtme the Book                                                  138     $4.56
                                                                                                     Impressions

            Instagram Post: Different candle varieties:) link...                                            479     $3.42
                                                                                                     Impressions

             Kakeytaughtme the Book - Page Post Engagement                                                5,481     $7.02
                                                                                                     Impressions


           CAMPAIGN TOTAL                                                                                          $15.00




                                                             1
                    Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 6 of 17

TOTAL                                                                                                                       $15.00



Transaction ID: 4399431926839827-8501513



Thanks,
                                                            Manage Your Ads                          See Full Receipt
The Facebook Ads Team

This is an automated message. Please do not reply. If you have questions about ads, you can get help. You can also manage your email
notification settings for this ad account.
Facebook, Inc., Attention: Community Support, 1 Facebook Way, Menlo Park, CA 94025

  The link ed
  image can not
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  correct file
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                Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 7 of 17


JIMI KOLAWOLE

From:                             Tiara Newman Johnson <tnewmanj22@gmail.com>
Sent:                             Sunday, January 30, 2022 2:19 PM
To:                               JIMI KOLAWOLE
Subject:                          Fwd: Your Facebook Ads Receipt (Account ID: 460246638615039)




Sent from my iPhone

Begin forwarded message:

       From: Facebook Ads Team <advertise-noreply@support.facebook.com>
       Date: October 18, 2021 at 11:32:35 AM EDT
       To: Tiara Newman Johnson <tnewmanj22@gmail.com>
       Subject: Your Facebook Ads Receipt (Account ID: 460246638615039)
       Reply-To: noreply <noreply@facebookmail.com>




                 Receipt for KTMBUSINESS (Account ID: 460246638615039)


           Summary
           AMOUNT BILLED                                           DATE RANGE
                                                                   Oct 17, 2021, 12:00 AM - Oct 18, 2021, 8:32 AM
           $15.00 USD                                              PRODUCT TYPE
                                                                   Facebook Ads
           BILLING REASON                                          PAYMENT METHOD
           You're being billed because you reached your            Visa · 9221
           $15.00 payment threshold.
                                                                   REFERENCE NUMBER
                                                                   V2L3G8KZS2



           CAMPAIGN                                                                                   RESULTS AMOUNT


             [10/16/2021] Promoting Kakeytaughtme the Book                                                  138     $4.56
                                                                                                     Impressions

            Instagram Post: Different candle varieties:) link...                                            479     $3.42
                                                                                                     Impressions

             Kakeytaughtme the Book - Page Post Engagement                                                5,481     $7.02
                                                                                                     Impressions


           CAMPAIGN TOTAL                                                                                          $15.00

                                                             1
                    Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 8 of 17



TOTAL                                                                                                                       $15.00



Transaction ID: 4399431926839827-8501513



Thanks,
                                                            Manage Your Ads                          See Full Receipt
The Facebook Ads Team

This is an automated message. Please do not reply. If you have questions about ads, you can get help. You can also manage your email
notification settings for this ad account.
Facebook, Inc., Attention: Community Support, 1 Facebook Way, Menlo Park, CA 94025

  The link ed
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                               Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 9 of 17


JIMI KOLAWOLE

From:                                      Tiara welch <kakeztiara11@gmail.com>
Sent:                                      Sunday, January 30, 2022 2:19 PM
To:                                        JIMI KOLAWOLE
Subject:                                   Fwd: Your Facebook Ads Receipt (Account ID: 460246638615039)


Email from Facebook business

Sent from my iPhone

Begin forwarded message:

       From: Facebook Ads Team <advertise-noreply@support.facebook.com>
       Date: December 6, 2021 at 3:31:30 AM EST
       To: Kakey Kakez <kakeztiara11@gmail.com>
       Subject: Your Facebook Ads Receipt (Account ID: 460246638615039)
       Reply-To: noreply <noreply@facebookmail.com>




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           Summary
           AMOUNT BILLED                                                      DATE RANGE
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           $10.03 USD                                                         PRODUCT TYPE
                                                                              Facebook Ads
           BILLING REASON                                                     PAYMENT METHOD
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           CAMPAIGN                                                                                                 RESULTS AMOUNT


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                           Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 10 of 17

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CAMPAIGN TOTAL                                                                                                              $10.03



TOTAL                                                                                                                       $10.03



Transaction ID: 4561401073976245-8778044



Thanks,
                                                                   Manage Your Ads                   See Full Receipt
The Facebook Ads Team

This is an automated message. Please do not reply. If you have questions about ads, you can get help. You can also manage your email
notification settings for this ad account.
Meta Platforms, Inc., Attention: Community Support, 1 Facebook Way, Menlo Park, CA 94025

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           Case 5:22-cv-05691-BLF Document 21-5 Filed 02/10/22 Page 11 of 17


JIMI KOLAWOLE

From:                   Tiara Newman Johnson <tnewmanj22@gmail.com>
Sent:                   Saturday, January 29, 2022 1:42 PM
To:                     JIMI KOLAWOLE
Subject:                Facebook and instagram business




                                             1
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Sent from my iPhone




                                              7
